Case 4:13-cr-00092-SDJ-CAN Document 556 Filed 10/01/20 Page 1 of 2 PageID #: 2024




                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION


   UNITED STATES OF AMERICA                           §
                                                      §   Criminal Action No. 4:13-CR-92
   v.                                                 §   (Judge Mazzant/Judge Nowak)
                                                      §
   STEPHEN CHANCE HILTON                              §


                    MEMORANDUM ADOPTING REPORT AND
             RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, the Court having

  heretofore referred the request for the revocation of Defendant’s supervised release to the United

  States Magistrate Judge for proper consideration.        The Court has received the Report and

  Recommendation of the United States Magistrate Judge pursuant to its order. Defendant having

  waived allocution before the Court as well as his right to object to the report of the Magistrate

  Judge, the Court is of the opinion that the findings and conclusions of the Magistrate Judge are

  correct.

         It is therefore ORDERED that the Report and Recommendation of United States

  Magistrate Judge is ADOPTED as the opinion of the Court.

         It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

         It is further ORDERED that Defendant be committed to the custody of the Bureau of

  Prisons for a term of fourteen (14) months of imprisonment, such term of imprisonment to run

  consecutive to Defendant’s state case(s), with no term of supervised release to follow.




                                                  1
Case 4:13-cr-00092-SDJ-CAN Document 556 Filed 10/01/20 Page 2 of 2 PageID #: 2025




         The Court also recommends that Defendant be housed in a Bureau of Prisons facility in

  Oklahoma, if appropriate.

            So ORDERED and SIGNED this 1st day of October, 2020.




                                                          ____________________________________
                                                          SEAN D. JORDAN
                                                          UNITED STATES DISTRICT JUDGE




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